       Case 1:19-cr-02040-SAB     ECF No. 62   filed 10/16/20   PageID.230 Page 1 of 2




1

2                                                                             FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON


3                                                                    Oct 16, 2020
                                                                         SEAN F. MCAVOY, CLERK
4

5                         UNITED STATES DISTRICT COURT

6                       EASTERN DISTRICT OF WASHINGTON

7    UNITED STATES OF AMERICA,                      No. 1:19-CR-2040-SAB-1

8                        Plaintiff,                 ORDER GRANTING IN PART
                                                    DEFENDANT’S MOTION TO
9    vs.                                            MODIFY CONDITIONS OF
                                                    RELEASE AND GRANTING
10   ANGEL LUIS PACHECO,                            MOTION TO EXPEDITE

11                       Defendant.                 ECF Nos. 60, 61

12         Before the Court are Defendant’s Motion to Modify Conditions of Pretrial

13   Release (ECF No. 60) and related Motion to Expedite (ECF No. 61). Defendant

14   requests that the Court strike Special Condition No. 10, which requires Defendant

15   to participate in GPS monitoring and home detention. ECF No. 53. Neither the

16   United States nor the United States Probation Office objects to the motion. ECF

17   No. 60 at 2.

18          Due to Defendant’s compliance with his conditions of release over the past

19   three months, the Court finds that some modification of his conditions is

20   appropriate. Thus, the Court will order that the home detention condition be


     ORDER GRANTING IN PART DEFENDANT’S MOTION TO MODIFY
     CONDITIONS OF RELEASE AND GRANTING MOTION TO EXPEDITE - 1
       Case 1:19-cr-02040-SAB    ECF No. 62    filed 10/16/20   PageID.231 Page 2 of 2




1    stricken. However, the Court is not inclined at this time to remove the GPS

2    monitoring condition. If Defendant continues to perform successfully on pretrial

3    release, the Court will entertain a motion to remove GPS monitoring.

4         ACCORDINGLY, IT IS HEREBY ORDERED:

5         1.     Defendant’s Motion to Modify Conditions of Release (ECF No. 60)

6    is GRANTED IN PART.

7         2.     Defendant’s Motion to Expedite (ECF No. 61) is GRANTED.

8          3.    Special Condition No. 10 (ECF No. 53), which required GPS

9    Monitoring and home confinement, shall be MODIFIED. The condition

10   requiring home confinement is STRICKEN. The condition requiring GPS

11   monitoring remains in effect.

12         4.    All other conditions of release shall remain in effect.

13         DATED October 16, 2020.

14                               s/Mary K. Dimke
                                 MARY K. DIMKE
15                      UNITED STATES MAGISTRATE JUDGE

16

17

18

19

20


     ORDER GRANTING IN PART DEFENDANT’S MOTION TO MODIFY
     CONDITIONS OF RELEASE AND GRANTING MOTION TO EXPEDITE - 2
